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                    UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF LOUISIANA



CASSANDRA BERRY, ET AL.                                 CIVIL ACTION


VERSUS                                                  NO. 10-4049


PAUL PASTOREK, ET AL.                                   SECTION "A"(4)



                      MINUTE ENTRY (JS-10: 25)

     On July 7, 2011, the Court held a telephone status

conference with the following counsel in attendance:         Eden

Heilman, Shelia Bedi, Katie Schwartzmann, Brenda Shum, Jennifer

Coco, Bill Cavanaugh, Krista Caner, Rosanne Felicello, Davida

Finger, and John DiPaolo for Plaintiffs; Maree Sneed and Joan

Ellen Hunt for Defendants.     The Court set the conference as a

follow-up to the April 26, 2011, hearing to discuss the status of

settlement negotiations.

     The parties are reviewing consent decrees entered in other

similar litigation.    Plaintiffs contend that the consent decree

entered in Los Angeles is particularly helpful because that case

involved charter schools.     Consent decrees were entered in

litigation involving Caddo and Jefferson Parishes in Louisiana

and those may be helpful.     Defendants point to a decree entered

in Baltimore, Maryland that will also be helpful.

     The Court will contact another district judge to help the

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parties mediate this case given that it will eventually be tried

to the bench.     The Court instructed counsel to appropriately and

adequately prepare the case for mediation before meeting with

another judge.1

     Accordingly;

     IT IS ORDERED that the parties are to exchange copies of the

Louisiana, Los Angeles, and Maryland consent decrees in their

entirety by Monday, July 11, 2011;

     IT IS FURTHER ORDERED that a follow-up status conference BY

PHONE is SET for Tuesday, August 16, 2011, at 10:45 a.m.

(central).   Counsel are to dial in to the same bridge number used

for today’s conference;

     IT IS FURTHER ORDERED that the Motion for Preliminary

Injunction (Rec. Doc. 84) and Motion for Discovery (Rec. Doc. 85)

are DENIED AS MOOT.




                                     JAY C. ZAINEY
                              UNITED STATES DISTRICT JUDGE




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       Subsequent to the phone conference the Court was advised
that counsel for the parties have agreed to meet in person in New
Orleans on Friday, July 22, 2011, in an effort to reach common
ground and to more precisely define the issues that must be
mediated.

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